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Chief Magistrate Judge Joseph C. Spero
San Francisco Courthouse, Courtroom F – 15 th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

       RE:     Supplemental Letter Brief Seeking Discovery Relief in the matter of LD et al. v.
               United Behavioral Health Company et al.: Case No. 4:20-cv-02254-YGR-JCS

Chief Magistrate Judge Spero:

         Pursuant to your Civil Standing Orders, Plaintiffs are seeking the Court’s permission to
supplement the joint discovery letter submitted to the Court on June 21, 2022 [Dkts. 137, 138]. In
light of this Court’s recent Order [Dkt. 140], Plaintiffs request that they be permitted to incorporate
the following additional matters in the upcoming briefing or that the Court hold a status conference
regarding these issues. Lead counsel for the parties have met and conferred in an effort to resolve
these matters and have been unable to do so.

                                        Plaintiffs’ Statement

        Non-expert discovery related to class certification is currently set to conclude on July 15,
2022. (Dkt. No. 130) On the eve of the deposition of Mr. Radames Lopez, a key United witness,
set to take place on Monday, June 27, 2022, United initiated the transfer of documents bearing
bates numbers UHC000197061 to UHC000205513, over 8,000 pages of documents along with a
100-page privilege log with over 1,200 entries, at 10:58 p.m. edt on Thursday, June 23, 2022.
United had previously represented that all custodial records were produced to Plaintiffs, but many
of documents from this offending production involve Mr. Lopez and his role in matters central to
the disposition of this case. Plaintiffs review of the aforementioned privilege log revealed that
hundreds of documents associated with Mr. Lopez were withheld in their entirety and that the log
did not include the June 23, 2022 production. These actions are consistent with United’s
obstructionist discovery practices that have caused Plaintiffs to seek court intervention on many
occasions (See Dkts. 94, 117, 120, and 137). Again, at 6:49 p.m. edt on Thursday June 30, 2022,
United served another lengthy 118 page privilege log with 1,875 additional privilege claims, most
involving individuals who are currently set to be deposed over the next two weeks. Because of the
volume of documents withheld, Plaintiffs request that they be permitted to brief this issue to the
Court and request in camera review of a representative sample of documents from the most recent
privilege logs (Plaintiffs suggest 50 documents) so as not to overburden the Court in conducting
sufficient review to determine whether United’s privilege claims are made in good faith.

        Regarding third-party, plan sponsor Apple, over the past several months the parties have
had ongoing meet and confers with Apple’s counsel to discuss both the document and deposition
subpoenas. Apple has refused to produce any responsive documents and has not moved to quash
Plaintiffs’ subpoenas. Several of the named Plaintiffs were members of Apple’s employee benefit
plan and well over 100 Apple plan members are members of the putative class. United’s reference
to “improper service” is one that should have been brought to the Court by Apple in a motion to
quash. The allegation of “improper service” is that the subpoena should have been directed to the
Apple Inc. Health & Welfare Benefit Plan and not the entity, Apple. Plaintiffs’ subpoena, directed



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to the Director of Benefits or person with the most knowledge at Apple, Inc. is the correct party,
as Plaintiffs’ subpoena topics make clear, but Plaintiffs are more than willing to issue another
subpoena if necessary. Apple, the entity, is the party that entered into an Administrative Services
Agreement (“ASA”) and subsequent amendments thereto, and the ASA includes Apple’s Director
of Benefits as a party to be noticed under the relevant provisions of the ASA. As such, Plaintiffs
request that briefing be permitted on compelling Apple to appear for deposition or submit to a
written deposition.

                                   United Defendants’ Statement

        Plaintiffs have not identified any ripe “matters” meriting inclusion in the briefing ordered
by the Court. The Court already set a briefing schedule for the parties to brief the pending
privilege disputes, and any rulings on those issues will be applied to all privilege logs and
documents withheld or redacted based on privilege. As always was expected (and repeatedly
previewed on multiple meet and confers), the United Defendants have served two additional
privilege logs since the original log that was discussed in the previous dispute letter, and the
United Defendants agree (and have told Plaintiffs very clearly in the meet and confer this week)
that Plaintiffs can address these new logs in the upcoming briefing and that any rulings by the
Court will be applied to these logs as well. Likewise, if this Court believes in camera review is
necessary upon reviewing the briefing, it can decide the scope of that review (and the parties can
also address this issue in their brief). There is no additional “issue” with respect to the privilege
logs that needs to be addressed in the briefing.

        Rather than identify any new issues, Plaintiffs’ letter appears to be yet another improper
vehicle to make baseless accusations of “obstructionist discovery practices” without any cause to
do so. As previously described, the United Defendants have been working tirelessly to complete
discovery in compliance with the schedule set by the Court; by way of example, the United
Defendants already have substantially completed a massive custodial ESI production, and are
now working to close out a relatively small subset of Plaintiffs’ several hundred document
requests that implicate non-custodial sources and thus are not as relevant to the upcoming
depositions (e.g., plan documents for a sample of plans implicated by Plaintiffs’ proposed class
definition). The United Defendants have also worked cooperatively with Plaintiffs on deposition
scheduling; although not mentioned in Plaintiffs’ portion of this letter, the United Defendants
voluntarily agreed to push back the deposition of Radames Lopez, so that Plaintiffs would have
time to review the “eleventh hour” supplemental production (which is not nearly as interesting or
significant as Plaintiffs suggest, but in any event they now have plenty of time to decide for
themselves). It is unclear what Plaintiffs are asking this Court to do that the parties have not
already agreed to do.

        Plaintiffs’ request to add briefing compelling Apple to appear for deposition is also
premature. Remarkably, Plaintiffs are asking this Court to reconsider its previous denial of this
dispute on June 29 as unripe without taking any steps to make it ripe, and indeed, acknowledging
that they may need to serve another subpoena to a different entity. Upon receiving this letter
from Plaintiffs, the United Defendants checked with Apple’s counsel, and they confirmed that
they have not heard anything from Plaintiffs since this Court declined to weigh in on the
previous dispute. Plaintiffs still have not addressed Apple’s detailed written objections



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(including improper service) with the central party to those discussions—Apple. Plaintiffs’
arguments above regarding service (which Plaintiffs added to this letter shortly before filing)
miss the point: Plaintiffs were required to meet and confer on these issues and try to resolve them
before bringing them to the Court. The United Defendants remain willing to participate in a
three-way meet and confer with Plaintiffs and Apple’s counsel, but Plaintiffs are again trying to
bypass Apple’s objections and the meet and confer process. Having failed to take even the most
basic steps to resolve their disagreement with Apple, their request for briefing compelling Apple
to appear for deposition should be denied.

       Dated: July 1, 2022                   Respectfully submitted,

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